64 F.3d 655
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Barry Steve ASBURY, Plaintiff--Appellant,v.NORTHFIELD FEDERAL;  NCNB National Bank of Maryland;  PamelaJ. Asbury, Defendants--Appellees.
    No. 95-1846.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 27, 1995.Decided:  August 15, 1995.
    
      Barry Steve Asbury, appellant pro se.  Marc Robert Kivitz, Baltimore, MD;  Susan H. Terlep, Azrael, Gann &amp; Franz, Baltimore, MD, for appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order affirming the decision of the bankruptcy court.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Asbury v. Asbury, No. CA-92-3098-N (D.Md.npr.18, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    